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FILED
UNITED STATES DISTRICT COURT — March 22, 2024
WESTERN DISTRICT OF TEXAS CLERK, US. DISTRICT COURT

WESTERN DISTRICT OF TEXAS
WACO DIVISION

BY- Jennifer Clark

DEPUTY

ACQIS LLC §

Vs. NO: WA:20-CV-00966-ADA

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ASUSTEK COMPUTER, INC., ASUS §
GLOBAL PTE. LTD.

JURY NOTE NUMBER o

What exhibit Shows ASvstekig US profit
From May 901% to S090 if VS. dollars?

PRESIDING JUROR | |

3/29/ 20424

DATE and TIME

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ALAN D ALBRIGHT
UNITED STATES DISTRICT JUDGE

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